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 8
                                 IN THE UNITED STATES DISTRICT COURT
 9
                                    EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                          2:12-cr-315 JAM

12                                Plaintiff,            ORDER REGARDING CUSTODY OF LEE
                                                        LOOMIS DURING DEPOSITIONS
13                          v.

14   LEE LOOMIS,

15                               Defendant.

16
            On December 21, 2015, the Court granted the government’s motion to take the deposition of
17
     Idalla Jobe. That deposition is currently scheduled for January 5, 2016. To effectuate the Court’s
18
     Order, and so that Mr. Loomis can observe the deposition via live video-conference at the office of the
19
     United States Attorney, the Court ORDERS the United States Marshal to turn custody of Mr. Loomis
20
     over to FBI Special Agents Traci Varasso and/or Dennis Guertin. The agents shall take custody of Mr.
21
     Loomis at the U.S. Marshal’s office in Sacramento at 8:00 a.m. on January 5, 2016. Custody of Mr.
22
     Loomis will be returned to the U.S. Marshal on January 5, 2016, at the conclusion of the deposition.
23
                    IT IS SO ORDERED.
24

25 Dated:     12/29/15                                    /s/ John A. Mendez
                                                          The Honorable John. A. Mendez
26                                                        UNITED STATES DISTRICT COURT JUDGE
27

28


      [PROPOSED] ORDER REGARDING CUSTODY OF LEE
      LOOMIS DURING DEPOSITIONS
